                      Case 2:14-cv-02606-JAR Document 3 Filed 12/12/14 Page 1 of 2




 AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DIsTIucT COURT
                                                                   for the
                                                          District of Kansas

                                                                     )
                                                                     )
                                                                     )
                           Martha Fox                                )
                            PlaintfJJ(s)                             )
                                V.                                   )       Civil Action No. 14-CV-2606 JAR-KMH
                                                                     )
                                                                     )
                                                                     )
                 Pittsburg State University                          )
                                                                     )
                           Defendant(s,)
                                                                     )
                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant s name and addras)Pittsb
                                        urg     State University
                                      Serve:
                                      Steve Scott, President
                                      Pittsburg State University
                                      1701 South Broadway
                                      Pittsburg, Kansas 66762
          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)     or 60 days if you
                                                                                                           —



are the United States or a United States agency, or an officer or employee of the United States described in Fed. R.
                                                                                                                     Civ.
P. 12 (a)(2) or (3)— you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12
                                                                                                                      of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                Matt J. O’Laughlin
                                Holman Schiavone, LLC
                                4600 Madison Avenue, Suite
                                Kansas City, Missouri 64112


        If you fail to respond, judgment by default will be entered against you for the relief demanded in the
                                                                                                               complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:         12/02/2014                                                                  s/Tami Anthony
                                                                                                      ar Deputy Clerk
                                                                               TI MOTHY
                                                                               CLERK OF COURT
                                                                               259 Robert J.    Dole U.S.   Courthouse
                                                                               500 State Ave
                                                                               Kansas City KS 66101-2431
                          Case 2:14-cv-02606-JAR Document 3 Filed 12/12/14 Page 2 of 2




A0 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.



                                                         PROOF OF SERVICE
                         (This section should iiot befiled with the court unless required by Fed. R. Civ. P. 4                     (V.)
           This summons for          (na,nc ofindividual and/file, if any)

 was   received by me on         (dare)


           D I personally served the summons on the individual at                   (place)
                                                                                          on   (‘dare,)                              ; or


                I left the summons at       the   individual’s residence or usual place of abode with                t’name)

                                                                           a person of suitable age and discretion who resides there,

           on   (dare)                               ,   and mailed a copy to the individual’s last known address; or


           Wi served the summons on (iame of indiwdual)                                                                        .
                                                                                                                                &e. s , who is
            designated by law to accept service of process on behalf of namc of organization)                                  3 Stc ./.,i. V r;1 y
                                                                                                                               br
                                                                                          OflMite.1        /_g                       ;or


                I returned the     summons unexecuted because
                                                                                                                                                   ;   or


           O Other (spec((v):




           My fees are       $                       for travel and    $                          for services, for a total of$             0.00


           I declare      under penalty of perjury        that this information is true.




 Date: jO(q
                                                                                              V           Server’s signature

                                                                      —        &lLfy           hn.Sori
                                                                                                      Printed name and title




                                                                                                                                              87o
                                                                                                           Server s address

 Additional     information regarding attempted service, etc
